842 F.2d 1290Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Claude DUNCAN, Jr., Plaintiff-Appellant,v.Clay HESTER, Sheriff;  Mr. Rice, Jail Administrator;  Dr.Peterson, Jail Doctor;  Mr. Waterhouse, JailNurse, Defendants-Appellees.
    No. 87-7774.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 25, 1988.Decided March 11, 1988.
    
      Claude Duncan, Jr., appellant pro se.
      Before DONALD RUSSELL and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Claude Duncan appeals the district court's dismissal of this 42 U.S.C. Sec. 1983 action for failure to pay the assessed filing fee.  Finding that the district court properly complied with the procedures approved in Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and did not abuse its discretion in dismissing the action without prejudice, we affirm the district court's order.  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      AFFIRMED.
    
    